Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 1 of 14




                           EXHIBIT B
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 2 of 14




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO: 20-21707-CV-UNGARO

    RAYMOND JAMES FINANCIAL, INC.,

                   Plaintiff,

    vs.

    FEDERAL INSURANCE COMPANY;
    TRAVELERS CASUALTY AND SURETY
    COMPANY OF AMERICA; GREAT
    AMERICAN INSURANCE COMPANY;
    BEAZLEY INSURANCE COMPANY, INC.; AND
    ST. PAUL MERCURY INSURANCE COMPANY,

                   Defendants.


           FEDERAL INSURANCE COMPANY’S OBJECTIONS AND RESPONSES TO
          RAYMOND JAMES FINANCIAL, INC.’S FIRST REQUEST FOR PRODUCTION

            Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Federal Insurance Company

    (“Federal”) responds and objects to the First Request for Production served by Raymond James

    Financial, Inc. (“Raymond James”) as follows:

                                      GENERAL OBJECTIONS

            Federal sets forth and incorporates herein its General Objections to each of Raymond

    James’ Requests. These General Objections apply to each and every one of the individual

    Requests, whether or not specifically raised with respect to a particular Request.

            1.     Federal objects to the Requests to the extent that they seek to impose any

    obligations on Federal that are inconsistent with or greater than the obligations imposed by the

    Federal Rules of Civil Procedure or any other law or order that governs discovery in this matter.

            2.     Federal objects to the Requests to the extent that they are overly broad, unduly

    burdensome, oppressive, vague or ambiguous, seek information or documents that are unrelated


                                                     1
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 3 of 14




    to the matters at issue, or are not reasonably calculated to lead to the discovery of evidence that is

    relevant or admissible in a court proceeding.

              3.   Federal objects to the Requests to the extent that they seek information or

    documents protected from disclosure by the attorney-client privilege, the attorney work product

    doctrine, the common interest doctrine, the joint defense privilege, or any other privileges,

    doctrines, rules, protections or immunities under any and all applicable law. Any inadvertent

    production of privileged information or documents shall not be deemed a waiver of any protection

    or privilege that might apply to such information or documents.

              4.   Federal objects to the Requests to the extent that the information or documents

    sought are unreasonably cumulative or duplicative, or are obtainable from some other source that

    is more convenient, less burdensome, or less expensive.

              5.   Federal objects to the Requests to the extent that they are not appropriately limited

    in scope.

              6.   Federal objects to the Requests to the extent that they seek information or

    documents not within Federal’s possession, custody, or control, and to the extent that they require

    Federal to respond on behalf of persons or entities other than Federal.

              7.   Federal objects to the Requests to the extent that they seek information or

    documents generated or authored subsequent to service of the Requests or related to documents

    prepared, generated, or received in anticipation of litigation or after the commencement of this

    action.

              8.   Federal objects to the Requests to the extent that they seek information or

    documents protected from disclosure by any law, statute, or rule governing the privacy or

    confidentiality of information pertaining to Federal or any of its clients, by any protective orders



                                                      2
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 4 of 14




    or non-disclosure agreements that are binding on Federal, or by any court orders restricting

    disclosure of information.

           9.      Federal objects to the Requests to the extent that they seek information or

    documents concerning any insurance policy other than the policy that was issued by Federal and

    identified in the Amended Complaint in this action on the grounds that they are overly broad,

    unduly burdensome, and seek information that is privileged and confidential or is neither relevant

    to the subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

    evidence. Unless otherwise stated, the responses herein relate only to the bonds issued by Federal

    and identified in the Amended Complaint in this action.

           10.     Federal objects to the Requests to the extent that they seek information or

    documents already in the possession or control of, or that is equally available to, Raymond James.

           11.     Federal objects to the Requests to the extent that they are unduly burdensome and

    are not limited to information that can be provided with reasonable effort and at a reasonable

    expense.

           12.     To the extent that information or documents are provided in response to the

    Requests, Federal specifically reserves its right to challenge the competency, relevancy,

    materiality, and admissibility of such information or documents in any subsequent proceeding or

    hearing, on any motion, or at the trial of this or any other action.

           13.     Any references to documents that Federal will produce shall not be taken as a

    representation that such documents or information exist, but rather as an undertaking to conduct a

    reasonable search, without undue burden, of the records, if any, maintained by Federal in the

    ordinary course of business that are likely to contain the requested information, and to produce the




                                                      3
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 5 of 14




    relevant, non-confidential, non-privileged documents, if any, from which the responses to the

    Interrogatories may be derived or ascertained.

           14.     In addition to these General Objections, Federal reserves the right to make further

    objections and assertions of privilege as may be applicable.

           15.     Federal reserves the right to supplement, amend, or correct its responses upon

    discovery of further responsive non-objectionable information or documents. Federal, however,

    does not undertake any obligation to do so except as required by applicable law.

                     OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

           1. Federal objects to Raymond James’ proposed definition of “Excess Insurers,” as

    Federal and Beazley Insurance Company issued the Primary Bonds on a co-surety basis.

           2. Federal objects to the time period for the requests from 2007 to the present as overboard

    as Raymond James does not seek recovery on bonds issued prior to 2016.

           3. Federal objects to Raymond James’ instructions to the extent that they seek to impose

    any obligations on Federal that are inconsistent with or greater than the obligations imposed by

    the Federal Rules of Civil Procedure or any other law or order that governs discovery in this matter.

                                       DOCUMENT REQUESTS

           REQUEST NO. 1:          Your entire underwriting file(s) relating to the Bonds, including, but

    not limited to, the file folder(s) or file jacket(s) themselves, and all electronic notes, quotes,

    binders, papers, documents, investigative reports, memoranda, interoffice and intra-office

    memoranda or notes relating to the Bonds. This Request also includes (a) all documents, other

    than the Bonds themselves, relating to the solicitation, negotiation, terms, provisions, placement,

    broking, underwriting, procurement and issuance of the Bonds, and (b) all documents or

    correspondence relating to any versions, drafts, or forms proposed for the Bonds, and (c) all



                                                     4
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 6 of 14




    documents that set forth Federal’s internal standards for determining whether or not to underwrite

    or renew the Bonds.

           Response: Objection. This request seeks information outside the scope of Rule 26
           in that it is not reasonably calculated to lead to the discovery of information relevant
           to any viable claim or defense or proportional to the needs of the case, considering
           the importance of the issues at stake in the action, the parties’ relative access to
           relevant information, the parties’ resources, the importance of the discovery in
           resolving the relevant issues, and whether the burden or expense of the proposed
           discovery outweighs its likely benefit in that the handling of the claim is irrelevant
           to whether Raymond James can establish a covered loss; it is overly burdensome
           and overbroad because it is not narrowly tailored to the unique facts of this case;
           and seeks information that is proprietary and confidential in nature.

           REQUEST NO. 2:         Your entire claim file(s) relating to the Claim made under the Bonds,

    including, but not limited to, the claims file folder(s) or jacket(s), all claim notes, documents,

    correspondence, memoranda, notes, daily diaries, statistical coding information, letters, emails,

    reports, records of phone calls, claim reviews, written statements, or other documents of any

    description, maintained at Your local, field, regional or home office(s) or held by any entity or

    person affiliated, contractually or otherwise, with You. For purposes of this Request, “Claim File”

    includes, but is not limited to, the following: (a) all documents generated or received by You in

    connection with any notice(s), investigation(s), or evaluation(s) of the Claim; and (b) all

    documents reflecting positions or decisions made, of whatever kind, on coverage related to the

    Claim, and the identity of all decision makers.

           Response:      Objection. This request is overbroad and unduly burdensome
           because it seeks documents already in Raymond James’ possession or control, and
           seeks documents that are protected by the attorney-client privilege and work
           product doctrine. Further responding, and without waiving these objections,
           Federal will produce the non-privileged documents contained in its claim file, with
           the exception of documents Raymond James produced to Federal (labeled RJ-POL
           000001-155779). Documents Raymond James produced to Federal (labeled RJ-
           POL 000001-155779) will be made available for copying and inspection upon
           request.




                                                      5
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 7 of 14




              REQUEST NO. 3:         Certified Copies of each bond included in the definition of “Bonds”

    herein.

              Response:      Federal will produce certified copies of the Bonds.

              REQUEST NO. 4:         All documents referring or relating to proposed renewals and/or

    quotes made by You for insurance coverage under a financial institution bond issued to Raymond

    James.

              Response:       Objection. This request seeks information outside the scope of Rule
              26 in that it is not reasonably calculated to lead to the discovery of information
              relevant to any viable claim or defense or proportional to the needs of the case,
              considering the importance of the issues at stake in the action, the parties’ relative
              access to relevant information, the parties’ resources, the importance of the
              discovery in resolving the relevant issues, and whether the burden or expense of the
              proposed discovery outweighs its likely benefit in that the handling of the claim is
              irrelevant to whether Raymond James can establish a covered loss.

              REQUEST NO. 5:         All documents constituting, reflecting, referring or relating to the

    drafting, negotiation, and intended application of the language in Section 3 (Discovery) of the

    Primary Bonds.

              Response:       Objection. This request seeks information outside the scope of Rule
              26 in that it is not reasonably calculated to lead to the discovery of information
              relevant to any viable claim or defense or proportional to the needs of the case,
              considering the importance of the issues at stake in the action, the parties’ relative
              access to relevant information, the parties’ resources, the importance of the
              discovery in resolving the relevant issues, and whether the burden or expense of the
              proposed discovery outweighs its likely benefit in that the handling of the claim is
              irrelevant to whether Raymond James can establish a covered loss.

              REQUEST NO. 6:         All documents constituting, reflecting, referring or relating to the

    drafting, negotiation, and intended application of the language in Section 12 (Termination or

    Cancelation) of the Primary Bonds, as amended by Endorsement/Rider No. 23.

              Response:       Objection. This request seeks information outside the scope of Rule
              26 in that it is not reasonably calculated to lead to the discovery of information
              relevant to any viable claim or defense or proportional to the needs of the case,
              considering the importance of the issues at stake in the action, the parties’ relative
              access to relevant information, the parties’ resources, the importance of the

                                                        6
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 8 of 14




           discovery in resolving the relevant issues, and whether the burden or expense of the
           proposed discovery outweighs its likely benefit in that the handling of the claim is
           irrelevant to whether Raymond James can establish a covered loss.

           REQUEST NO. 7:         All documents constituting, reflecting, referring or relating to the

    drafting, negotiation, and intended application of the term “reasonable person” in

    Endorsement/Rider No. 23 of the Primary Bonds.

           Response:       Objection. This request seeks information outside the scope of Rule
           26 in that it is not reasonably calculated to lead to the discovery of information
           relevant to any viable claim or defense or proportional to the needs of the case,
           considering the importance of the issues at stake in the action, the parties’ relative
           access to relevant information, the parties’ resources, the importance of the
           discovery in resolving the relevant issues, and whether the burden or expense of the
           proposed discovery outweighs its likely benefit in that the handling of the claim is
           irrelevant to whether Raymond James can establish a covered loss.

           REQUEST NO. 8:         All documents constituting, reflecting, referring or relating to the

    drafting, negotiation, and intended application of the term “Legal Department of the Insured” in

    Endorsement/Rider No. 23 of the Primary Bonds.

           Response:       Objection. This request seeks information outside the scope of Rule
           26 in that it is not reasonably calculated to lead to the discovery of information
           relevant to any viable claim or defense or proportional to the needs of the case,
           considering the importance of the issues at stake in the action, the parties’ relative
           access to relevant information, the parties’ resources, the importance of the
           discovery in resolving the relevant issues, and whether the burden or expense of the
           proposed discovery outweighs its likely benefit in that the handling of the claim is
           irrelevant to whether Raymond James can establish a covered loss.

           REQUEST NO. 9:         All documents constituting, reflecting, or otherwise referring or

    relating to any communications You had with any of the Excess Insurers, or the attorneys

    representing the Excess Insurers relating to or concerning the Bonds, the Claim, the Proof of Loss,

    Jay Peak and/or Joel Burstein.

           Response:       Objection. This request seeks information protected from disclosure
           by the attorney-client privilege and work product doctrine, as extended by the joint
           defense privilege and/or common interest doctrine. Further responding, and
           without waiving these objections, Federal will produce non-privileged documents
           contained in its claim file.

                                                     7
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 9 of 14




           REQUEST NO. 10: Documents sufficient to identify the date You retained outside

    counsel with regard to the Claim and/or Proof of Loss.

           Response:       Objection. This request seeks information outside the scope of Rule
           26 in that it is not reasonably calculated to lead to the discovery of information
           relevant to any viable claim or defense and seeks information protected from
           disclosure by the attorney-client privilege and work product doctrine. Further
           responding, and without waiving said objection, Federal will produce the non-
           privileged documents contained in its claim file.

           REQUEST NO. 11: All documents constituting, reflecting or otherwise referring or

    relating to any Communications your outside coverage counsel had with any Excess Insurer,

    including without limitation any outside or inside coverage counsel for such Excess Insurer,

    concerning the Bonds, the Claim, the Proof of Loss, Jay Peak and/or Joel Burstein.

           Response:      Objection. This request seeks information protected from disclosure
           by the attorney-client privilege and work product doctrine, as extended by the joint
           defense privilege and/or common interest doctrine. Further responding, and
           without waiving these objections, Federal will produce the non-privileged
           documents contained in its claim file.

           REQUEST NO. 12: All documents constituting, reflecting, or otherwise referring or

    relating to Your coverage position(s) on the Claim and/or Proof of Loss, including but not limited

    to any drafts, notes, reports, analyses, risk assessments, and communications concerning your

    position as set forth in your April 20, 2020 letter or otherwise.

           Response:      Objection. This request is overbroad and unduly burdensome
           because it seeks documents already in Raymond James’ possession or control, and
           seeks documents that are protected by the attorney-client privilege and work
           product doctrine. Further responding, and without waiving these objections,
           Federal will produce the non-privileged documents contained in its claim file, with
           the exception of documents Raymond James produced to Federal (labeled RJ-POL
           000001-155779). Documents Raymond James produced to Federal (labeled RJ-
           POL 000001-155779) will be made available for copying and inspection upon
           request. Federal reserves the right to rely upon any documents produced by
           Raymond James, any discovery exchanged, served or developed in this action or
           any other pleadings served or filed in this action.




                                                      8
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 10 of
                                      14



          REQUEST NO. 13: All and all agendas, minutes, notes, memos, and/or summaries from

   any meetings, telephone calls, and/or conferences regarding the Bonds, the Claim, the Proof of

   Loss, Jay Peak and/or Joel Burstein.

          Response:      Objection. This request is overbroad and unduly burdensome
          because it seeks documents already in Raymond James’ possession or control, and
          seeks documents that are protected by the attorney-client privilege and work
          product doctrine, as extended by the joint defense privilege and/or common interest
          doctrine. Further responding, and without waiving these objections, Federal will
          produce the non-privileged documents contained in its claim file, with the
          exception of documents Raymond James produced to Federal (labeled RJ-POL
          000001-155779). Documents Raymond James produced to Federal (labeled RJ-
          POL 000001-155779) will be made available for copying and inspection upon
          request.

          REQUEST NO. 14: All documents not already provided to you by Raymond James,

   reflecting, referring or relating to any other litigation concerning the Jay Peak and/or the Claim,

   including but not limited to Alexander Daccache, et al. vs. Raymond James & Associates, Ins., et

   al., Case N. 1:16-cv-21575-FAM, United States District Court for the Southern District of Florida;

   and Securities and Exchange Commission v. Ariel Quiros, et al., Case No. 1:16-cv-21301-DPG,

   United States District Court for the Southern District of Florida.

          Response:      Objection. This request is overbroad and unduly burdensome
          because it seeks publicly-available documents already in Raymond James’ control,
          for which the burden of production is substantially the same for all parties. Further
          responding, and without waiving these objections, Federal will produce the non-
          privileged documents contained in its claim file, with the exception of documents
          Raymond James produced to Federal (labeled RJ-POL 000001-155779).
          Documents Raymond James produced to Federal (labeled RJ-POL 000001-
          155779) will be made available for copying and inspection upon request.

          REQUEST NO. 15: Any and all communications between You and Marsh, including any

   of its agents and/or employees, regarding the Bonds, the renewal of the Bonds, the language of the

   Bonds, the Claim, the Proof of Loss, Jay Peak and/or Joel Burstein.

          Response:       Objection. This request seeks information outside the scope of Rule
          26 in that it is not reasonably calculated to lead to the discovery of information
          relevant to any viable claim or defense or proportional to the needs of the case,

                                                    9
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 11 of
                                      14



          considering the importance of the issues at stake in the action, the parties’ relative
          access to relevant information, the parties’ resources, the importance of the
          discovery in resolving the relevant issues, and whether the burden or expense of the
          proposed discovery outweighs its likely benefit in that the handling of the claim is
          irrelevant to whether Raymond James can establish a covered loss. Further
          responding, and without waiving said objection, Federal will produce the non-
          privileged communications contained in its claim file, with the exception of
          documents Raymond James produced to Federal (labeled RJ-POL 000001-
          155779). Documents Raymond James produced to Federal (labeled RJ-POL
          000001-155779) will be made available for copying and inspection upon request.

          REQUEST NO. 16: All documents You sent to or received from any third party relating

   to the Bonds, the Claim, the Proof of Loss, Jay Peak, and or Joel Burstein.

          Response:       Objection. This request seeks documents that are protected by the
          attorney-client privilege and work product doctrine, as extended by the joint
          defense privilege and/or common interest doctrine. Further responding, and
          without waiving these objections, Federal will produce the non-privileged
          documents contained in its claim file, with the exception of documents Raymond
          James produced to Federal (labeled RJ-POL 000001-155779). Documents
          Raymond James produced to Federal (labeled RJ-POL 000001-155779) will be
          made available for copying and inspection upon request. Federal reserves the right
          to rely upon any documents produced by Raymond James, any discovery
          exchanged, served or developed in this action or any other pleadings served or filed
          in this action.

          REQUEST NO. 17: All documents You relied on in evaluating your coverage

   obligations related to the Claim.

          Response:      Objection. This request is overbroad and unduly burdensome
          because it seeks documents already in Raymond James’ possession and control,
          and seeks documents that are protected by the attorney-client privilege and work
          product doctrine, as extended by the joint defense privilege and/or common interest
          doctrine. Further responding, and without waiving these objections, Federal will
          produce the non-privileged documents contained in its claim file, with the
          exception of documents Raymond James produced to Federal (labeled RJ-POL
          000001-155779). Documents Raymond James produced to Federal (labeled RJ-
          POL 000001-155779) will be made available for copying and inspection upon
          request.

          REQUEST NO. 18: Any and all documents constituting, reflecting, or otherwise

   referring or relating to your quantification of the loss set forth in the Proof of Loss.



                                                     10
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 12 of
                                      14



              Response:      Objection. This request is overbroad and unduly burdensome
              because it seeks documents already in Raymond James’ possession and control,
              and seeks documents that are protected by the attorney-client privilege and work
              product doctrine, as extended by the joint defense privilege and/or common interest
              doctrine. Further responding, and without waiving these objections, Federal will
              produce the non-privileged documents contained in its claim file, with the
              exception of documents Raymond James produced to Federal (labeled RJ-POL
              000001-155779). Documents Raymond James produced to Federal (labeled RJ-
              POL 000001-155779) will be made available for copying and inspection upon
              request. Federal reserves the right to rely upon any documents produced by
              Raymond James, any discovery exchanged, served or developed in this action or
              any other pleadings served or filed in this action.

              REQUEST NO. 19: Any and all claim handling agreements between you and the Excess

   Insurers.

              Response:      Objection. This request seeks information protected from disclosure
              by the attorney-client privilege and work product doctrine, as extended by the joint
              defense privilege and/or common interest doctrine. Further responding, and
              without waiving these objections, none other than those provisions included in the
              Bonds.

              REQUEST NO. 20: Any and all communications between You and any of your

   reinsurers relating to the Bonds, the Claim, the Proof of Loss, Jay Peak, and/or Joel Burstein.

              Response:       Objection. This request seeks information outside the scope of Rule
              26 in that it is not reasonably calculated to lead to the discovery of information
              relevant to any viable claim or defense or proportional to the needs of the case,
              considering the importance of the issues at stake in the action, the parties’ relative
              access to relevant information, the parties’ resources, the importance of the
              discovery in resolving the relevant issues, and whether the burden or expense of the
              proposed discovery outweighs its likely benefit in that the handling of the claim is
              irrelevant to whether Raymond James can establish a covered loss.

              REQUEST NO. 21: A complete organizational chart for Federal’s underwriting

   department handling financial institution fidelity bonds, including any district, regional, and home

   offices.

              Response:       Objection. This request seeks information outside the scope of Rule
              26 in that it is not reasonably calculated to lead to the discovery of information
              relevant to any viable claim or defense or proportional to the needs of the case,
              considering the importance of the issues at stake in the action, the parties’ relative
              access to relevant information, the parties’ resources, the importance of the

                                                       11
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 13 of
                                      14



          discovery in resolving the relevant issues, and whether the burden or expense of the
          proposed discovery outweighs its likely benefit in that the handling of the claim is
          irrelevant to whether Raymond James can establish a covered loss; and it is overly
          burdensome and overbroad because it is not narrowly tailored to the unique facts
          of this case.

          REQUEST NO. 22: A complete organizational chart for Federal’s claims department

   that was involved in any way with the Claim.

          Response:     Federal will produce the relevant organizational charts for the
          claims department involved in the Claim.

          REQUEST NO. 23: Documents sufficient to identify the individuals responsible for

   making the coverage decision with respect to the Claim.

          Response:      Objection. This request seeks documents that are protected by the
          attorney-client privilege and work product doctrine, as extended by the joint
          defense privilege and/or common interest doctrine. Further responding, and
          without waiving these objections, Federal will produce the non-privileged
          documents contained in its claim file Federal will produce the non-privileged
          documents contained in its claim file, with the exception of documents Raymond
          James produced to Federal (labeled RJ-POL 000001-155779). Documents
          Raymond James produced to Federal (labeled RJ-POL 000001-155779) will be
          made available for copying and inspection upon request.

          REQUEST NO. 24: All documents identified in Your Rule 26 disclosures.

          Response:       Objection. This request is overbroad and unduly burdensome
          because it seeks publicly-available documents already in Raymond James’ control,
          for which the burden of production is substantially the same for all parties, and
          documents in Raymond James’ possession previously provided to Federal in
          support of the Claim. Further responding, and without waiving said objections,
          Federal will produce certified copies of the Bonds, non-privileged documents in its
          claim file and non-privileged correspondence between the parties. Documents
          Raymond James produced to Federal (labeled RJ-POL 000001-155779) will be
          made available for copying and inspection upon request. Federal reserves the right
          to rely upon any documents produced by Raymond James, any discovery
          exchanged, served or developed in this action or any other pleadings served or filed
          in this action.

          REQUEST NO. 25: All documents supporting or relating to any affirmative defense

   asserted by You in response to Raymond James’ Complaint.



                                                  12
Case 1:20-cv-21707-JEM Document 158-2 Entered on FLSD Docket 08/25/2021 Page 14 of
                                      14



         Response:       Objection. This request is overbroad and unduly burdensome
         because it seeks documents in Raymond James’ possession. Further responding,
         and without waiving said objection, Federal will produce certified copies of the
         Bonds and non-privileged documents in its claim file upon request. Federal
         reserves the right to rely upon any documents produced by Raymond James, any
         discovery exchanged, served or developed in this action or any other pleadings
         served or filed in this action.

   September 10, 2020                        Respectfully submitted,
                                             GORDON & REES, LLP

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                                               13
